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                                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                  DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                 DATE FILED: 11/13/2023
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 DREW DIXON,                                                    :
                                                                :
                                              Plaintiff,        :
                                                                :
                                                                :          23-CV-9878(VEC)
                            -against-                           :
                                                                :        NOTICE OF INITIAL
                                                                :      PRETRIAL CONFERENCE
 ANTONIO MARQUIS “L.A.” REID,                                   :
                                                                :
                                                                :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

        In accordance with Rule 16 of the Federal Rules of Civil Procedure, the Initial Pretrial

 Conference (“IPTC”) will be held on January 12, 2024, at 10:00 a.m. The IPTC will be held

 in Courtroom 443 of the Thurgood Marshall United States Courthouse, located at 40 Foley

 Square, New York, New York 10007.

        1.       Pursuant to section 2.C of the Court’s Individual Practices in Civil Cases, requests

for adjournment of the IPTC or any other conference must be made in writing at least 48 hours

prior to the scheduled conference. The request must state (a) the reason for the proposed

adjournment; (b) the original date of the conference; (c) the number of previous requests for

adjournment; (d) whether the other party or parties consent(s) and, if not, the reason given for

refusing consent; and (e) proposed alternative dates. This Court encourages plaintiffs to serve

defendants promptly. Requests for adjournment of the IPTC will not necessarily be granted on

the ground that one or more defendants have not been served or answered prior to the scheduled

IPTC.
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       2.      The parties are directed to submit a joint letter (the “Joint Letter”) of no more than

five pages by January 4, 2024 addressing each of the following in separate paragraphs:

            a) a brief description of the case, including the factual and legal bases for the

               claim(s) and defense(s);

            b) any contemplated motions;

            c) the basis for subject matter jurisdiction;

            d) the prospect for settlement; and

            e) whether the parties believe a Rule 16 conference would be helpful or whether

               they believe it is unnecessary and that their proposed Case Management Plan be

               so ordered.

       3.      If this case involves claims that arise under the Fair Labor Standards Act

(“FLSA”), the joint letter must indicate whether the plaintiff(s) intend to move for certification

of a collective and whether the defendant(s) intend to object to such certification. If there will be

a disputed motion for a collective, the Court will likely cancel the IPTC, stay discovery, and set a

briefing schedule for the motion.

       4.      The parties are directed to consult the Undersigned’s Individual Practices in Civil

Cases and to confer on a Civil Case Management Plan and Scheduling Order. The Individual

Practices and Civil Case Management Plan may be found on the Court’s website:

https://nysd.uscourts.gov/hon-valerie-e-caproni. The parties must submit the jointly proposed

Plan to the Court with their Joint Letter. The deadlines proposed in the Court’s form Case

Management Plan are generally appropriate for most routine cases. If the parties propose a date

for the deadline of fact discovery that is more than 120 days from the date of the IPTC, the Joint

Letter must explain why more than four months are needed to conduct fact discovery. The



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deadline to complete fact discovery is a firm date and will not be extended absent extraordinarily

good cause.

       5.      Three days before the date of the IPTC, counsel for all parties are required to be

registered as filing users in accordance with the Procedures of Electronic Case Filing and to have

filed a Notice of Appearance.

       6.      Plaintiff’s counsel, or the defendant’s counsel in removed cases, is responsible for

distributing copies of this Notice to all parties. If the summons and complaint have already been

served (or, for removed cases, the notice of removal), counsel must distribute this Notice within

five days and file proof of such distribution within seven days of this Notice’s issuance. If the

summons and complaint have not yet been served, Plaintiff’s counsel may serve this Notice at

the same time as the summons and complaint.



SO ORDERED.
                                                         _________________________
                                                         ________________________
Date: November 13, 2023                                     VALERIE CAPRONI
                                                                        CAPRON ONI
      New York, New York                                  United States District Judge




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